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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------- X
  CONSWALER FITZROY,
                   Plaintiff,                                           No. 24 Civ. 3016 (JAM)

                   -v-
  CITY OF NEW YORK, METROPOLITAN
  TRANSIT AUTHORITY, and JOHN DOES 1-5,
                   Defendants.
  ---------------------------------------------------------------- X




      DECLARATION OF MARJORIE DORSAINVIL IN SUPPORT OF DEFENDANT
             METROPOLITAN TRANSPORTATION AUTHORITY'S
                          MOTION TO DISMISS
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  Marjorie Dorsainvil, declares under the penalty of perjury, pursuant to 28 U.S.C. § 1746 that:


         1.      I have been employed as the Principal Executive Secretary for the Metropolitan

  Transportation Authority's ("MTA'') Legal Department since July 6, 2023.

         2.      I currently work at the MTA's office at 2 Broadway, 4th Floor, New York, NY

  10004. My responsibilities include but are not limited to review and process letters, pleadings, and

  notices mailed and served upon the MTA.

         3.      I submit this declaration in support of the MTA's motion to dismiss the Plaintiff's

  Complaint (ECF No. 1, Attachment 2) pursuant to Federal Rule of Civil Procedure 12(b)(6).

  A. The Plaintiff's Notice of Claim to the NYCTA

         4.      Upon information and belief, on or about November 20, 2023, the New York City

  Transit Authority ("NYCTA") received a notice of claim for Plaintiff Conswaler Fitzroy

  ("Plaintiff') via email. See a copy of the notice of claim to the NYC TA attached hereto as Exhibit

  A.

         5.      The Plaintiff's notice of claim to the NYCTA was unsigned. See Exhibit A.

         6.      Upon information and belief, on February 9, 2024, the NYCTA rejected the notice

  of claim for failure to comply with Public Authorities Law §1212 and General Municipal Law§

  50-e. See a copy of the NYCTA's rejection letter along with the notice of claim and United States

  Postal Services tracking sheet attached hereto as Exhibit B.

  B. The Plaintiff's Notice of Claim to the MTA

         7.      On March 11, 2024, I was assigned to process the mail, pleading, notices that were

  served on the MTA that day, and the MTA Legal Department received, via mail, a notice of claim

  by PlaintiffConswaler Fitzroy at its office at 2 Broadway, 4th Floor, New York, NY 10017. See a

  copy of the notice of claim attached hereto as Exhibit C.
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          8.        Following the MTA Legal Department practice, I stamped receipt at the bottom of

  the notice of claim, and filled in the date it was received by noting "3/11/24". I then forwarded the

  notice of claim to the appropriate department for handling.

          9.        The notice of claim alleges "[f]alse arrest, false imprisonment, abuse of process,

  unlawful search and seizure, subjected to intentional infliction of serious emotion distress and

  harm, malicious prosecution, negligence, recklessness, wrongful incarceration, and violation of

  civil rights ... " See Exhibit C ,r 2.

          10.       The notice of claim alleges that the incident took place on "November 6, 2023, at

  approximately 4:10 p.m., on an MTA Bus (route S51) at the Staten Island Terminal bus stop". See

  Exhibit C ,r 3.

          11.       Pursuant to the "affirmed statement of service" by Paula Rodriguez at the end of

  the notice of claim, she served "notice of claim and designation of agent for access to sealed

  records pursuantto NYCPL 160.51(1)(d)" via certified mail to MTA on February 29, 2024. Exhibit

  C, pages 5-6.

          12.       The "designation of agent for access to sealed records pursuant to NYCPL

  160.50(a)(d)" was signed by the Plaintiff before the notary public on February 28, 2024.

  Exhibit C, page 4.



  I declare under penalty of perjury that the foregoing is true and correct.

  Executed on May 15, 2024.
